Case 2:05-cr-20227-SHI\/| Document 14 Filed 08/17/05 Page 1 of 2 Page|D 13
1N THE UNITED s'rATEs DIsTchr COURT A/@y
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FOR THE WESTERN DISTRICT OF TENNES sEE F"~ED B""
WESTERN DIVISION 05 AUG § 7 PH 3: 58
UNITED sTATEs oF AMERICA awnwa -.G_OULD
V. Cr. No. 05- 2022
CLAUDY REDMOND
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The defendant notified the Court that he is unable to retain counsel in this matter. After
questioning the defendant regarding his financial status, the court appointed the Federal Defender's
Office to represent the defendant Pursuant to the Speedy Trial Act, as set out in 18 U.S.C. §
3161(h)(8)(A) and (B)(iv), the court may grant the defendant a period of excludable delay to serve
the ends of j ustice, While the defendant was unrepresented by counsel..

IT IS THEREFORE ORDERED that the time period of August 17, 2005 through August 24,
2005 be excluded from the time limits imposed by the Speedy Trial Act for trial of this case.

ARRAIGNMENT IS RESET TO WEDNESDAY, August 24, 2005 at 9:30 a.m.

BEFORE MAGISTRATE JUDGE ANDERSON.

/
UNITED STATES MAGISTRATE JUDGE
DATE: MJ/

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) rkch on ga §_g§

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This notice confirms a copy ofthe document docketed as number 14 in
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E. Greg Gilluly

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Honorable Samuel Mays
US DISTRICT COURT

